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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1848V
                                          UNPUBLISHED


    DEBRA HEAGLE,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: June 16, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Influenza
                         Respondent.                            (Flu); Shoulder Injury Related to
                                                                Vaccine Administration (SIRVA)


Brynna Gang, Kraus Law Group, LLC, Chicago, IL, for Petitioner.

Benjamin Patrick Warder, U.S. Department of Justice, Washington, DC, for
Respondent.


                                 DECISION AWARDING DAMAGES 1

       On December 14, 2020, Debra Heagle filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered bilateral shoulder injuries related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine in her right arm
and a tetanus, diphtheria, and pertussis (“Tdap”) vaccine in her left arm. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

     On June 16, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for a SIRVA. On June 14, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $153,529.52 comprised

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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of $145,000.00 for pain and suffering and $8,529.52 for past out-of-pocket expenses.
Respondent’s Rule 4(c) Report and Proffer on Damages at 7. In the Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as a
whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the Proffer, I award Petitioner a lump sum
payment of $153,529.52 (comprised of $145,000.00 for pain and suffering and
$8,529.52 for past out-of-pocket expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
